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 7
 8                                  UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA

10
         Andres Gomez,                               Case No.
11
                   Plaintiff,
12                                                   Complaint For Damages And
           v.                                        Injunctive Relief For Violations Of:
13                                                   American’s With Disabilities Act;
         Sand and Sea, a California Corporation;     Unruh Civil Rights Act
14       and Does 1-10,
15                 Defendants.
16
17              Plaintiff Andres Gomez (“Plaintiff”) complains of Sand and Sea, a California
18
     Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
19
20
21        PARTIES:
22        1. Plaintiff is a visually-impaired individual and a member of a protected class

23   of persons under the Americans with Disabilities Act. Plaintiff is legally blind1 and
24   cannot use a computer without assistance of screen-reader software (“SRS”)
25   Plaintiff uses JAWS SRS to access the internet and consume website content using
26   1
      Plaintiff uses the terms “visually-impaired” or “blind” interchangeably to refer to
27   individuals, including himself, who meet the legal definition of blindness. (visual
28   acuity of 20/200 or worse.) Some individuals who meet these criteria have no
     vision, others have limited vision.

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 1   his computer as well as websites and applications on mobile devices.
 2     2. Defendant Sand and Sea, owned or operated the Shore Hotel (“Hotel”)
 3   located at or about 1515 Ocean Ave, Santa Monica, California, in June 2020.
 4     3. Defendant Sand and Sea owns and/or operates the Hotel located at or
 5   1515 Ocean Ave, Santa Monica, California, currently.
 6     4. Defendant Sand and Sea owned or operated the Car rental’s website in July
 7   2020.
 8     5. Defendant Sand and Sea owns or operates the Car rental’s website
 9   currently.
10     6. Plaintiff does not know the true names of Defendants, their business
11   capacities, their ownership connection to the property and business, or their
12   relative responsibilities in causing the access violations herein complained of, and
13   alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
14   informed and believes that each of the Defendants herein, including Does 1
15   through 10, inclusive, is responsible in some capacity for the events herein
16   alleged, or is a necessary party for obtaining appropriate relief. Plaintiff will seek
17   leave to amend when the true names, capacities, connections, and
18   responsibilities of the Defendants and Does 1 through 10, inclusive, are
19   ascertained.
20
21     JURISDICTION & VENUE:
22     7. The Court has subject matter jurisdiction over the action pursuant to 28
23   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
24   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
25     8. This court has supplemental jurisdiction over Plaintiff’s non-federal claims
26   pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are formed from the
27   same case and/or controversy and are related to Plaintiff’s ADA claims. A violation
28   of the ADA is a violation of Unruh. (Cal. Code §51(f).


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 1        9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Plaintiff is a
 2   resident of the district, Defendant is subject to personal jurisdiction in this District
 3   due to its business contacts with the District, and a substantial portion of the of
 4   the complained of conduct occurred in this District.
 5
 6        FACTUAL ALLEGATIONS:
 7        10. Plaintiff is a legally blind person and a member of a protected class under
 8   the ADA. Plaintiff is proficient with and uses SRS to access the internet and read
 9   internet content on computers and mobile devices.
10        11. Plaintiff cannot use a computer without the assistance of screen reader
11   software. (“SRS”).
12        12. The Hotel is a “brick and mortar” facility in Santa Monica, California open
13   to the public, a place of public accommodation, and a business establishment.
14        13. The Hotel offers websites and digital booking as some of the facilities,
15   privileges, and advantages offered by Defendants to patrons of the Hotel in
16   connection with their patronage at the Hotel.2
17        14. Among the services offered include: details about rooms and the Hotel
18   itself, location and contact information, Hotel policies, information about rates
19   and availability and offers the ability to quickly book a room without any
20   ambiguity as to the amenities that would be available to the patron.
21        15. Plaintiff was a prospective customer who wished to access Defendant’s
22   goods and services and stay at the Hotel.
23        16. Plaintiff visited the Hotel’s website twice in June 2020 with the intent to
24   reserve a room in which Plaintiff and a companion could stay for a trip to Santa
25   Monica.
26        17. When Plaintiff attempted to navigate the Hotel’s website Plaintiff
27   encountered numerous accessibility design faults that prevented him from
28
     2
         This website could be accessed at: https://shorehotel.com as of July 2020

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 1   navigating the site successfully using SRS. Investigation into his experience
 2   revealed barriers, including, but not limited to:
 3                    a. Lack of a button/link/function to adjust the website format
 4                        to one that is fully readable by SRS and/or to adjust the font.
 5                    b. Images on the website lack a text equivalent readable by SRS.
 6                    c. Navigation headings lack information to enable keyboard or
 7                        screen reader users to navigate with context.
 8                    d. Navigation elements are not properly labeled as headings to
 9                        enable SRS to recognize them as navigation elements.
10                    e. The website contains script elements that are not identified
11                        with functional text readable by SRS.
12                    f. The website contains form elements that are not identified
13                        with functional text readable by SRS.
14                    g. Where alternative text elements are found, they are similar
15                        or identical to adjacent or nearby elements.
16                    h. Accessible elements are contained within “noscript”
17                        elements, rendering them unusable by JavaScript users.
18                    i. Audio/Visual Content is provided without a text alternative
19                        format.
20                    j. The website contains empty or redundant links resulting in
21                        additional and inefficient navigation by SRS users.
22                    k. The visualization of the webpage contains impermissibly low
23                        contrast   enabling       differentiation   of   background   and
24                        foreground elements.
25     18. Currently, the defendants either fail to provide an accessible website or
26   Defendants have failed to maintain in working and useable conditions those
27   website features required to provide ready access to persons with disabilities.
28     19. Despite multiple attempts to access shorehotel.com using Plaintiff’s


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 1   computer and mobile device, Plaintiff has been denied the full use and
 2   enjoyment of the facilities, goods and services offered by Defendants and
 3   Shorehotel.com as a result of the accessibility barriers on Shorehotel.com.
 4      20. Plaintiff personally encountered accessibility barriers and has actual
 5   knowledge of them.
 6      21. By failing to provide an accessible website, the defendants denied Plaintiff
 7   full and equal access to the facilities privileges or advantages offered to their
 8   customers.
 9      22. Plaintiff has been deterred from returning to the website as a result of
10   these prior experiences.
11      23. The failure to provide accessible facilities created difficulty and discomfort
12   for the Plaintiff.
13      24. If the website had been constructed equally accessible to all individuals,
14   Plaintiff would have been able to navigate the website and reserve a room.
15      25. Additionally, Plaintiff is a tester in this litigation and seeks future
16   compliance with all federal and state laws. Plaintiff will return to the Hotel’s
17   website to avail himself of its goods and/or services and to determine compliance
18   with the disability access laws once it is represented to him that the Hotel, its
19   website, and its facilities are accessible.
20      26. Plaintiff is currently deterred from doing so because of Plaintiff’s
21   knowledge of the existing barriers and uncertainty about the existence of yet
22   other barriers on the site. If the barriers are not removed, Plaintiff will face
23   unlawful and discriminatory barriers again.
24      27. The barriers identified above violate easily accessible, well-established
25   industry standard guidelines for making websites accessible to people with visual-
26   impairments that use SRS to access websites. Given the prevalence of websites
27   that have implemented these standards and created accessible websites, it is
28   readily achievable to construct an accessible website without undue burden on


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 1   the Hotel or a fundamental alteration of the purpose of the website.
 2     28. Compliance with W3C Web Content Accessibility Guidelines (“WCAG”) 2.0
 3   AA standards are a viable remedy for these deficiencies and a standard that has
 4   been adopted by California courts for website accessibility.
 5     29. It’s been established that failure to remove these inaccessible conditions
 6   violates the ADA and California law and requiring compliance with industry access
 7   standards is a remedy available to the plaintiff.
 8     30. The website was intentionally designed, and based on information and
 9   belief, it is the Defendants’, policy and practice to deny Plaintiff access to the
10   Hotel’s website, and as a result, deny the goods and services that are otherwise
11   available to patrons of the Hotel.
12     31. Due to the failure to construct and operate the website in line with
13   industry standards, Plaintiff has been denied equal access to Defendant’s Hotel
14   and the various goods, services, privileges, opportunities and benefits offered to
15   the public by the Hotel.
16     32. Given the nature of the barriers and violations alleged herein, the plaintiff
17   alleges, on information and belief, that there are other violations and barriers on
18   the website, and/or at the Hotel, that relate to his disability. In addition to the
19   barriers he personally encountered, Plaintiff intends to seek removal of all
20   barriers on the website and at Hotel that relate to his disability. See Doran v. 7-
21   Eleven (9th Cir. 2008) 524 F.3d 1034 (holding that once a plaintiff encounters one
22   barrier, they can sue to have all barriers that relate to their disability removed
23   regardless of whether they personally encountered the barrier).
24     33. Plaintiff will amend the complaint, to provide further notice regarding the
25   scope of the additional demanded remediation in the event additional barriers
26   are uncovered through discovery. However, please be on notice that the plaintiff
27   seeks to have all barriers related to his disability remedied.
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 1   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH DISABILITIES
 2   ACT OF 1990 (On behalf of Plaintiff and against all Defendants.) (42 U.S.C. section
 3   12101, et seq.)
 4      34. Plaintiff re-pleads and incorporates by reference, as if fully set forth again
 5   herein, the allegations contained in all prior paragraphs of this complaint. The
 6   Hotel is a public accommodation with the definition of Title III of the ADA, 42 USC
 7   § 12181.
 8      35. The website provided by the Hotel is a service, privilege or advantage of
 9   the Hotel’s brick and mortar facility.
10      36. When a business provides services such as a website, it must provide an
11   accessible website.
12      37. Here, an accessible website has not been provided. A failure to provide an
13   accessible website is unlawful discrimination against persons with disabilities.
14      38. Under the ADA, it is an act of discrimination to fail to ensure that the
15   privileges, advantages, accommodations, facilities, goods and services of any
16   place of public accommodation is offered on a full and equal basis by anyone who
17   owns, leases, or operates a place of public accommodation. See: 42 U.S.C. §
18   12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
19   reasonable modifications in policies, practices, or procedures, when such
20   modifications are necessary to afford goods, services, facilities, privileges,
21   advantages, or accommodations to individuals with disabilities, unless the
22   accommodation would work a fundamental alteration of those services and
23   facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
24      39. Here, the failure to ensure that the accessible facilities were available and
25   ready to be used by the plaintiff is a violation of the law.
26      40. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set
27   forth and incorporated therein, Plaintiff requests relief as set forth below.
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 1   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL RIGHTS ACT (On
 2   behalf of Plaintiff and against all Defendants.) (Cal. Civ. Code § 51-53.)
 3     41. Plaintiff repleads and incorporates by reference, as if fully set forth again
 4   herein, the allegations contained in all prior paragraphs of this complaint. The
 5   Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia, that persons with
 6   disabilities are entitled to full and equal accommodations, advantages, facilities,
 7   privileges, or services in all business establishment of every kind whatsoever
 8   within the jurisdiction of the State of California. Cal. Civ. Code §51(b).
 9     42. The Unruh Act provides that a violation of the ADA is a violation of the
10   Unruh Act. Cal. Civ. Code, § 51(f).
11     43. Defendants’ acts and omissions, as herein alleged, have violated the Unruh
12   Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s rights to
13   full and equal use of the accommodations, advantages, facilities, privileges, or
14   services offered.
15     44. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
16   discomfort or embarrassment for the plaintiff, the defendants are also each
17   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-(c).)
18     45. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set
19   forth and incorporated therein, Plaintiff requests relief as set forth below.
20
21          PRAYER:
22          Wherefore, Plaintiff prays that this Court award damages and provide relief
23   as follows:
24       1. A Declaratory Judgment that at the commencement of this action
25   Defendants were in violation of the requirements of the ADA due to Defendants’
26   failures to take action to ensure that its websites were fully accessible to and
27   independently usable by blind and visually-impaired individuals.
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 1         2. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
 2   enjoining Defendants from violating the ADA with respect to its website.
 3         3. Damages under the Unruh Civil Rights Act § 513, which provides for actual
 4   damages and a statutory minimum of $4,000 for each offense.
 5         4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
 6   42 U.S.C. § 12205; and Cal. Civ. Code § 52.
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     Dated: July 24, 2020          CENTER FOR DISABILITY ACCESS
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 9                                        By: ___/s/ Russell Handy
10                                        Russell Handy, Esq.
                                          Attorney for Plaintiff
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         Note: the plaintiff is not invoking section 55 of the California Civil Code and is
28   not seeking injunctive relief under the Disabled Persons Act at all.


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